              Case 23-11240-TMH   Doc 374-2   Filed 10/31/23   Page 1 of 47




                                     EXHIBIT 1

                                     Sale Order




DOCS_DE:245469.5 70786/001
                 Case 23-11240-TMH            Doc 374-2        Filed 10/31/23         Page 2 of 47




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          )    Chapter 11
                                                                    )
    AMERIFIRST FINANCIAL, INC., et al.,1                            )    Case No. 23- 11240 (TMH)
                                                                    )
                             Debtors.                               )    (Jointly Administered)
                                                                    )
                                                                    )    Ref. Docket No. __


 ORDER (I) AUTHORIZING (A) PRIVATE SALE AND (B) TRANSFER OF CERTAIN
MORTGAGE SERVICING RIGHTS AND OBLIGATIONS TO THE MONEY SOURCE
INC. FREE AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES, AND INTERESTS;
  (II) APPROVING THE TERMS OF THE LOAN SERVICING RIGHTS PURCHASE
        AND SALE AGREEMENT; AND (III) GRANTING RELATED RELIEF


             Upon the motion dated October 31, 2023 (the “Sale Motion”)2 of the Debtors for an order,

pursuant to sections 105(a) and 363 of the Bankruptcy Code and Bankruptcy Rules 2002 and 6004,

9013, and 9014, (i) authorizing the private sale and transfer of certain of the Debtors’ mortgage

servicing rights; (ii) approving the terms of that certain Loan Servicing Rights Purchase and Sale

Agreement by and between Debtor AmeriFirst Financial, Inc. and The Money Source Inc.; and

(iii) granting further relief; and the Court having jurisdiction to consider the Sale Motion and the

relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334, and the Amended Standing Order

of Reference of the United States Court for the District of Delaware, dated February 29, 2012;

and consideration of the Sale Motion and the requested relief being a core proceeding pursuant

to 28 U.S.C. § 157(b); and venue being proper before the Court pursuant to 28 U.S.C. §§ 1408

1
 The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are: Phoenix 1040
LLC (255) and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 575 W. Chandler Boulevard, Suite
225, Unit 236, Chandler, AZ 85225.
2
  Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such terms
in the Sale Motion.



DOCS_DE:245469.5 70786/001
              Case 23-11240-TMH               Doc 374-2        Filed 10/31/23         Page 3 of 47



and 1409; and due and sufficient notice of the Sale Motion having been given under the

circumstances; and it appearing that no other or further notice need be provided; and the Court

having reviewed the Sale Motion; and the Court having held a hearing to consider the relief

requested in the Sale Motion on November 21, 2023 (the “Sale Hearing”); and upon the record

of the Hearing; and the Court having determined that the legal and factual bases set forth in the

Sale Motion establish just cause for the relief granted herein; and it appearing that the relief

requested is in the best interests of the Debtors, their estates, and all parties in interest; and after

due deliberation; and good and sufficient cause appearing therefor;

THE BANKRUPTCY COURT HEREBY FINDS, ORDERS, ADJUDGES, AND

DECREES that3:

         1.       The Sale Motion is GRANTED as set forth herein.

         2.       The Sale Agreement annexed hereto as Exhibit A and the sale of the Assets are

hereby approved as being in the best interest of the Debtors’ estates and their stakeholders. The

Debtors are hereby authorized and empowered to enter into, consummate, implement and perform

their obligations under the Sale Agreement, and to execute, deliver, and perform such agreements,

instruments, and documents and take any other actions that may be reasonably necessary and

desirable to implement and effectuate the terms of the Sale Agreement, this Sale Order, and the

Sale, without any further corporate action or orders of the Court.

         3.       At the closing of the sale, the Debtors shall be, and hereby are, authorized and

empowered by sections 105 and 363(b) and (f) of the Bankruptcy Code to sell and effectuate the


3
  All findings of fact and conclusions of law set forth in this Sale Order or announced by the Court at the hearing in
relation to the Sale Motion are hereby incorporated herein to the extent not inconsistent herewith.


                                                          2
DOCS_DE:245469.5 70786/001
              Case 23-11240-TMH         Doc 374-2      Filed 10/31/23     Page 4 of 47



transfer of the Assets to Buyer. The sale of the Assets by the Debtors to Buyer shall constitute a

legal, valid and effective transfer of the Assets, notwithstanding any requirement for approval or

consent by any person, and vest Buyer with all rights, title, and interests of the Debtors in the

Assets, subject to the terms of the Sale Agreement.

        4.       The Buyer is hereby granted and is entitled to all the protections provided to a good

faith purchaser under section 363(m) of the Bankruptcy Code. Neither the Debtors nor the Buyer,

nor any of their equity owners, officers, directors, employees, professionals or other agents have

engaged in any action or inaction that would (a) cause the entry into the Sale Agreement, or

consummation of the transactions contemplated thereby, to be avoided, or (b) result in costs and

damages to be imposed under section 363(n) of the Bankruptcy Code. Entry into the Sale

Agreement is undertaken by the parties thereto without collusion, and in good faith, as that term

is used in 363(m) of the Bankruptcy Code. All payments to be made by the Buyer and other

agreements or arrangements entered into by the Buyer in connection with the Sale have been

disclosed. The Buyer is not an “insider” of any Debtor (as defined under section 101(31) of the

Bankruptcy Code). The reversal or modification on appeal of the authorization provided herein to

enter into the Sale Agreement and consummate the transactions contemplated thereby shall not

affect the validity of such transactions (including the Sale Agreement), unless such authorization

is duly stayed pending such appeal.

        5.       The sale is hereby approved pursuant to section 363(f) of the Bankruptcy Code.

The Assets sold pursuant to the Sale Agreement shall be transferred free and clear of all liens,

claims, encumbrances, and interests pursuant to section 363(f) of the Bankruptcy Code; provided

that with such liens, claims, encumbrances and interests to attach to the sale proceeds of the Assets.

                                                   3
DOCS_DE:245469.5 70786/001
              Case 23-11240-TMH        Doc 374-2      Filed 10/31/23     Page 5 of 47



Neither the Sale Agreement nor the Assets under the Sale Agreement shall be subject to any

avoidance claim or cause of action arising under section 363(n) or chapter 5 of the Bankruptcy

Code. The Buyer would not have entered into the Sale Agreement and would not consummate the

transactions contemplated thereby if the sale of the Assets to the Buyer was not free and clear of

all liens, claims, encumbrances, and other interests, or if the Buyer would, or in the future could,

be liable for any such liens, claims, encumbrances, or other interests. The holders of any liens,

claims, encumbrances, or other interests against the Debtors, their estates, or any of the Assets who

did not object, who withdrew their objections, or whose objections were overruled, to the Sale

or the Sale Motion are deemed to have consented pursuant to section 363(f)(2) of the

Bankruptcy Code. To the extent any person or entity that has filed statements or other documents

or agreements evidencing liens, claims, encumbrances, or other interests in all or any portion of

the Assets, and such person or entity has not filed and executed the appropriate termination

statements, instruments of satisfaction, releases of liens and easements, or any other documents

necessary to document the release of such liens, claims, encumbrances, or other interests, the

Debtors are hereby authorized, and the Buyer is hereby authorized on the Debtors’ behalf, to

execute and file such statements, instruments, releases, and other documents on behalf of such

person or entity with respect to the Assets. For the avoidance of doubt, the Debtors and the Buyer

are each authorized to file a copy of this Sale Order, which, upon filing, shall be conclusive

evidence of the release and termination of such liens, claims, encumbrances, or other interests.

        6.       Nothing contained in the Sale Motion or this Sale Order, nor any payment made

pursuant to the authority granted by this Sale Order, shall constitute or be construed as (a) an

admission as to the validity of any claim against the Debtors; (b) a waiver of the Debtors’ or any

                                                 4
DOCS_DE:245469.5 70786/001
              Case 23-11240-TMH         Doc 374-2     Filed 10/31/23      Page 6 of 47



appropriate party in interest’s rights to dispute the amount of, basis for, or validity of any claim

against the Debtors; (c) a waiver of any claims or causes of action which may exist against any

creditor or interest holder; or (d) an approval, assumption, adoption, or rejection of any agreement,

contract, lease, program, or policy between the Debtors and any third party under section 365 of

the Bankruptcy Code.

        7.       Notwithstanding Bankruptcy Rule 6004(h), this Sale Order shall be effective and

enforceable immediately upon entry. Any party objecting to this Sale Order must exercise due

diligence in filing an appeal and obtaining a stay prior to the closing of the sale or risk its appeal

being foreclosed as moot.

        8.       The Debtors and the Buyer are authorized to take all action necessary to effectuate

the relief granted in this Sale Order in accordance with the terms of the Sale Agreement.

        9.       The Sale Agreement and any related agreements, documents, or other instruments

may be waived, modified, amended, or supplemented by the parties thereto, and in accordance

with the terms thereof, without further order of this Court; provided that any such waiver,

modification, amendment or supplement does not have a material adverse effect on the Buyer or

the Debtors’ estates.

        10.      This Sale Order shall inure to the benefit of the Buyer and the Debtors, and their

respective successors and assigns, including, but not limited to, any chapter 11 or chapter 7 trustee

that may be appointed in these chapter 11 cases, and shall be binding upon any trustee, party,

entity, or fiduciary that may be appointed in connection with these chapter 11 cases or any other

or further cases involving the Debtors, whether under chapter 7 or chapter 11 of the Bankruptcy

Code.

                                                  5
DOCS_DE:245469.5 70786/001
              Case 23-11240-TMH         Doc 374-2      Filed 10/31/23     Page 7 of 47



        11.      To the extent any provision of this Sale Order conflicts with the terms and

conditions of the Sale Agreement, this Sale Order shall govern and control.

        12.      The Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation, interpretation, and/or enforcement of this Sale Order.




                                                   6
DOCS_DE:245469.5 70786/001
              Case 23-11240-TMH   Doc 374-2   Filed 10/31/23   Page 8 of 47




                                     EXHIBIT A

                                   Sale Agreement




DOCS_DE:245469.5 70786/001
          Case 23-11240-TMH          Doc 374-2      Filed 10/31/23     Page 9 of 47




       LOAN SERVICING RIGHTS PURCHASE AND SALE AGREEMENT

This Loan Servicing Rights Purchase and Sale Agreement is made and entered into as of
October 25, 2023, by and between The Money Source Inc. ("Buyer"), a New York
corporation having a corporate office at 3138 East Elwood Street, Phoenix, AZ 85034, and
AmeriFirst Financial, Inc. ("Seller"), a Delaware corporation, having a corporate office at
575 W. Chandler Blvd., Ste. 225 Unit 236, Chandler, AZ 85225.


                                         RECITALS:

          A.     Buyer desires to buy and Seller desires to sell the Servicing Rights described
herein.

       B.      Seller is servicing the Mortgage Loans underlying the Servicing Rights
which are the subject of this Agreement.

          C.     Buyer and Seller have agreed upon the terms set forth herein.


        NOW, THEREFORE, in consideration of the foregoing and of other good and
valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the
parties hereto agree as follows.

                                         ARTICLE I

                                          Definitions

All words or phrases defined in this Article I shall have the respective meanings specified
in this Article.

Accepted Servicing Practices: With respect to each Mortgage Loan, the mortgage
servicing practices that are in compliance with (i) all Applicable Laws, (ii) the terms
of the related Mortgage and Mortgage Note, (iii) the applicable Servicing Agreement,
including the related Investor Requirements, and (iv) to the extent not in conflict with the
preceding clauses (i), (ii) and (iii), the accepted mortgage servicing practices of prudent
mortgage lending institutions that service mortgage loans of the same type as such
Mortgage Loan in the jurisdiction in which the related Mortgaged Property is located.

Advances: With respect to any Mortgage Loan, P&I, Tax and Insurance, Charges,
foreclosure fees and costs, bankruptcy fees, inspection, preservation and maintenance fees
and expenses, including attorneys’ fees and disbursements, and similar charges advanced
in accordance with the related Investor Requirements on behalf of the related Mortgagor
and recoverable by the servicer from the Mortgagor, the PMI company, if any, another
third party, or the Investor in conformity with the Investor Requirements.




DOCS_DE:245617.1 70786/001                                                                   1
         Case 23-11240-TMH        Doc 374-2      Filed 10/31/23     Page 10 of 47




Agency: FHA, USDA, and VA.

Agreement: This Loan Servicing Purchase and Sale Agreement as the same may be
amended in accordance with the terms hereof.

Ancillary Income: All fees and income derived from and related to the Mortgage Loans,
excluding Servicing Fees attributable to the Mortgage Loans, but including and not limited
to late charges, fees received with respect to checks or bank drafts returned by the related
bank for non-sufficient funds, assumption fees, optional insurance administrative fees,
income on Escrow Accounts and Custodial Accounts or other receipts on or with respect
to such Mortgage Loans, and all other incidental fees, income and charges collected from
or assessed against the Mortgagor, other than those charges payable to the applicable
Investor under the terms of the applicable Servicing Agreement or as otherwise agreed by
the parties.

Applicable Law: All of the following: (i) all federal, state and local laws, rules and
regulations and any other applicable requirements and guidelines of any government or
agency or instrumentality thereof, including, without limitation, the applicable Investor
Requirements, the CFPB, and any applicable insurance companies; and (ii) all other
applicable judicial and administrative judgments, orders, stipulations, directives, consent
decrees, awards, writs and injunctions that are made or given at any time by any court or
regulator to which Seller is a party or any of its affiliates is subject or is otherwise
applicable to the servicing of the Mortgage Loans.

Business Day: Any day other than Saturday, Sunday or a day on which banks in the State
of New York are authorized or obligated by law to be closed.

CFPB: The Consumer Financial Protection Bureau.

Charges:        All taxes, applicable insurance premiums, ground rents, government
assessments, hazard and mortgage insurance premiums, water, sewer, municipal charges
and common charges of condominiums or planned unit developments and similar charges
relating to the Mortgage Loans and required to be timely paid under the applicable Investor
Requirements.

Closing Tape: A computer readable tape, diskette or other mutually agreed electronic
format containing the following loan level data produced by Seller with respect to the
Mortgage Loans:

                 Current UPB                         Original UPB
                 Note Rate                           Origination Channel
                 Loan-level Guaranty Fee             Pass-through Rate
                 Net Service Fee                     Loan Type
                 Investor Type                       Remittance Type
                 Amortization Type                   Original Term
                 Remaining Term or Age               Property State



DOCS_DE:245617.1 70786/001                                                                2
         Case 23-11240-TMH         Doc 374-2      Filed 10/31/23      Page 11 of 47




                 P&I and T&I Constants                 Origination Date
                 ARM Index & Margin, if app.           Property Type
                 LTV and CLTV                          Occupancy Type
                 Pool #/Pool Type/ Pool Mo.            Due Date
                 Credit Scores (i.e. FICO), if         Mortgage Insurance Information
                    available                          Foreclosure flag
                 Bankruptcy flag                       Litigation flag
                 Modification flag                     Closed/Active Renovation Flag
                 First Payment Date                      (i.e. 203K / Homestyle)
                 Loan Purpose                          Documentation Type

Custodial Account: An account maintained by Seller in accordance with the applicable
Investor Requirements for the deposit of P&I payments received in respect of one or more
Mortgage Loans.

Custodial Documents: As to any Mortgage Loan, the following documents:

        1. Executed original Mortgage Note, rider and note addendum with any
        endorsements or an executed lost note affidavit or transferable lost note bond if
        permitted by and in form acceptable to the Investor;

        2. Original recorded Mortgage or a copy of the original recorded Mortgage or if
        the related Mortgage is in the process of being recorded, a photocopy of the related
        unrecorded Mortgage. If an unrecorded copy was provided prior to the Transfer
        Date, the original recorded Mortgage or a copy of the original recorded Mortgage
        will be delivered upon receipt pursuant to the terms of the Agreement;

        3. All assignments required by the Investor or a copy thereof if permitted by the
        applicable Investor Requirements;

        4. Executed original modification agreement with evidence of recording thereon,
        if applicable;

        5. Original final title policy or a copy of the related policy to the extent acceptable
        under Investor Requirements or a copy of the title commitment indicative of title
        insurance. If the title commitment was provided prior to the Transfer Date, the
        original (which may be in electronic format) or a copy of the original final title
        policy will be delivered upon receipt pursuant to the terms of the Agreement;

        6. Any FHA or VA or PMI insuring certificates or a copy thereof if permitted by
        the applicable Investor Requirements; and

        7. Any other documents required to be retained by a Custodian in accordance with
        the Investor Requirements.




DOCS_DE:245617.1 70786/001                                                                   3
         Case 23-11240-TMH         Doc 374-2      Filed 10/31/23     Page 12 of 47




Custodian: With respect to any Mortgage Loan and Servicing Agreement, each applicable
document custodian holding the related Custodial Documents for Seller or the Investor, as
applicable.

Cut-Off Date: The date in each month established by the Investor on which a reconciliation
is performed of all funds received on behalf of the Investor during the preceding month.

Damaged Loan: Any Mortgage Loan, the real property improvements of which (i) are in
a disaster area declared by the President of the United States as of the date of the this
Agreement or at any time thereafter up to and including the Sale Date and (ii) as of the Sale
Date have been adversely affected in any manner or suffered any damage or loss including,
without limitation, unrepaired damage or uncompensated loss whether or not covered in
whole or in part by insurance arising out of fire, explosion, accident, hurricane, earthquake,
windstorm, flood, mold, tornado, lightning, toxic waste, hazardous waste, vandalism,
strike, riot, war, or act of God or the public enemy.

Delinquent Loan: A Mortgage Loan which, as of the month end prior to the Sale Date, is
thirty (30) or more days delinquent on the MBA method. A list of such loans shall be
provided in Exhibit I.

eMortgage Loan: A mortgage loan for which the Mortgage Note and possibly other
primary credit documents such as the Mortgage are created and stored electronically rather
than by using traditional paper documentation that has a pen and ink signature.

Escrow Accounts: All escrow and impound accounts, other than a Custodial Account,
maintained pursuant to the Servicing Agreement or otherwise relating to the Mortgage
Loans including, without limitation, all accounts established for purposes of receiving
funds for the payment of Charges, suspense, buydown funds, unapplied balances,
replacement reserve balances, loss draft balances (including interest accrued thereon for
the benefit of the Mortgagors under the Mortgage Loans if required by law or the applicable
Mortgage Documents), completion escrow monies and any other miscellaneous cash
balances held with respect to the Mortgage Loans.

Escrows: As of any date of determination, amounts on deposit in an Escrow Account.

Exceptions List: A list prepared by Buyer and delivered to Seller setting forth for each
Mortgage Loan any Holdback Documents that have not been received by Buyer.

FDIC: The Federal Deposit Insurance Corporation.

FHA: The Federal Housing Administration.

FHA Loan: Any Mortgage Loan insured by the FHA.

FHLMC or Freddie Mac:         The Federal Home Loan Mortgage Corporation and any
successor thereto.


DOCS_DE:245617.1 70786/001                                                                  4
         Case 23-11240-TMH          Doc 374-2      Filed 10/31/23      Page 13 of 47




Flood Certification Fee: As applicable: (i) ten dollars ($10.00) per Mortgage Loan without
a flood certification contract, (ii) ten dollars ($10.00) per Mortgage Loan with a fully paid,
life of loan, fully transferrable flood certification contract that is not from CoreLogic, and
(iii) any beneficiary change fees required by CoreLogic for the transfer.

FNMA or Fannie Mae: The Federal National Mortgage Association and any successor
thereto.

FNMA HomeStyle Loan: A Mortgage Loan offered through FNMA that enables a
Mortgagor to make renovations, repairs, or improvements in a purchase or re-finance
transaction of an existing home.

GNMA or Ginnie Mae:           The Government National Mortgage Association and any
successor thereto.

Guarantee Fees: Any such (guarantee) fees payable to an Investor in accordance with
applicable Investor Requirements.

Holdback Amount: An amount equal to 10 percent (10%) of the Purchase Price.

Holdback Documents: As to any Mortgage Loan, the documents listed on Exhibit F.

Imaging Fee: The amount stated in the Transfer Procedures for each Loan File that is not
comprised solely of imaged documents that have been indexed and formatted as provided
in Exhibit E.

Interim Servicing Costs: In the event the Transfer Date is subsequent to the Sale Date,
Seller will interim service the Loans in accordance with the respective Agency servicing
guidelines and requirements and the terms of the Agreement. Buyer will pay Seller seven
dollars ($7.00) per month, per loan serviced. The Interim Servicing Fee will be prorated
for periods of less than a month. Seller will be entitled to and shall retain all interest float
benefits of escrow and custodial accounts during the interim servicing period. Seller will
retain all ancillary income during the interim servicing period and remit to Buyer all
servicing fees collected net of the Interim Servicing Costs, with respect to the Mortgage
Loans.

Interim Servicing Period: The period of time between the Sale Date and the Transfer Date,
when the Seller shall subservice (or cause to be subserviced) the Mortgage Loans on behalf
of the Buyer.

Interim Servicing Income: The Revenue generated by the Servicing Rights between the
Sale Date and the Transfer Date, net of any Interim Servicing Costs.

Investor: Each of FNMA and FHLMC, or Ginnie Mae (as security guarantor), as
appropriate to the identity of the investor of a particular Mortgage Loan in the Portfolio.



DOCS_DE:245617.1 70786/001                                                                    5
         Case 23-11240-TMH        Doc 374-2      Filed 10/31/23     Page 14 of 47




Investor Guides: Any of the (a) Fannie Mae Selling or Servicing Guides (b) Freddie Mac
Single-Family Seller/Servicer Guide (c) Ginnie Mae Servicing Guides, (d) FHA, VA,
HUD, USDA, or private mortgage insurer guidelines, as applicable, subject to such
waivers, variances and modifications as have been and may be agreed to between
applicable Investor and Seller.

Investor Requirements: The Servicing Agreement and any requirement or guide of the
applicable Investor, including without limitation, all applicable rules, regulations,
directives, guidelines, and instructions established by the Investor Guides.

Loan File: With respect to each Mortgage Loan, all credit and servicing documents
(including servicing histories) required by Applicable Law or Investor Requirements and
those documents necessary to service, including those set forth in Exhibit C, to the extent
such documents are in the possession or control of Seller.

Lock File: A list identifying applications to refinance a Mortgage Loan the Servicing
Rights of which are part of the sale to Buyer and which has a rate lock commitment in
Seller’s current mortgage loan pipeline as of the Sale Date. Such file shall detail the loan
number of the existing Mortgage Loan which is the subject of such refinance application
and the new mortgage loan application together with all information gathered to date on
such new mortgage loan, including, but not limited to, the new UPB, lock date, locked note
rate, locked product type, and locked loan term.

MERS: The Mortgage Electronic Registration Systems, Inc., a Delaware corporation and
any successor thereto.

Mortgage: A mortgage, deed of trust or other instrument creating a first lien on real
property as security for payment of a Mortgage Note.

Mortgage Documents: As to any Mortgage Loan, the documents specified in Exhibit C
for such Mortgage Loan, which may be in the form of a copy.

Mortgage Loan: An individual loan secured by a Mortgage on a Mortgaged Property the
Servicing Rights to which are sold and transferred by Seller to Buyer under this Agreement.

Mortgage Loan Schedule: The schedule of Mortgage Loans agreed to by Buyer and Seller,
such schedule attached hereto as Exhibit B and setting forth the information with respect
to each Mortgage Loan and the related Servicing Rights set forth on Exhibit G hereto.

Mortgage Note: A promissory note evidencing the indebtedness under a Mortgage Loan
secured by a Mortgage.

Mortgaged Property: A fee simple interest in a single parcel of real property improved by
a one- to four-family residential dwelling, a condominium unit or a unit in a planned unit
development, securing the indebtedness of the Mortgagor under the related Mortgage Note.



DOCS_DE:245617.1 70786/001                                                                6
         Case 23-11240-TMH       Doc 374-2      Filed 10/31/23    Page 15 of 47




Mortgagor: The obligor on a Mortgage Note.

P & I: Principal and interest due on a Mortgage Loan.

Person: An individual corporation, limited liability company, joint venture, partnership,
trust, unincorporated association, government or any department or agency thereof, or any
other entity.

PMI: Private mortgage insurance.

Pool: A group of Mortgage Loans that collateralize a mortgage-backed security issue.

Portfolio: The Servicing Rights to be sold and purchased under this Agreement.

Purchase Price: An amount equal to (i) the product of (x) the Purchase Price Percentage
and (y) the aggregate UPB of the Mortgage Loans as of the Sale Date, minus (ii) applicable
Flood Certification Fees, Tax Contract Fees, and Imaging Fees as may be adjusted pursuant
to Section 2.03.

Purchase Price Percentage: One hundred basis points (1.00%) expressed as a percentage of
the UPB of the Mortgage Loans (other than the Delinquent Loans) as of the Sale Date.

Records: Any and all of the Loan Files, insurance files, tax records, collection records,
Mortgage Documents, ledgers, and other records, data or information relating to the
Mortgage Loans, the Custodial Accounts, the Escrow Accounts or the Pools, or otherwise
necessary or proper to transfer the Servicing Rights to Buyer.

Remittance Date: The scheduled date of the month in which an Investor receives P&I or
interest payments, if applicable.

REO: Real property acquired through foreclosure, trustee sale or other liquidation of a
Mortgage Loan prior to the Sale Date.

Sale Date: November 30, 2023, or such other date agreed upon by the Parties in writing,
on which date the economic risks and benefits of the Servicing Rights are conveyed to
Buyer, subject to entry of the Sale Order described in section 5.01(b) of this Agreement.

Servicing Agreement: Each agreement between Seller and the Investor pursuant to which
a Mortgage Loan is serviced.

Servicing Agreement Consent: The duly executed, written acknowledgement provided by
an Investor to Seller and Buyer, as specifically required by the related Investor
Requirements, approving the purchase, sale and transfer of the applicable Servicing Rights
pursuant to this Agreement.




DOCS_DE:245617.1 70786/001                                                              7
         Case 23-11240-TMH          Doc 374-2      Filed 10/31/23      Page 16 of 47




Servicing Rights: With respect to the Mortgage Loans, all of Seller's or Buyer’s, as
respective owner of the Servicing Rights (i) obligations to service the Mortgage Loans in
accordance with the Investor Requirements, (ii) right to receive the servicing fee income
and any and all ancillary or other income including, without limitation, late charge income,
and (iii) right to hold and administer the related Escrows and the Records arising from or
connected to any of the Mortgage Loans including but not limited to tax and insurance
collections, (iv) rights to all accounts and other rights to payment related to any of the
property described in this paragraph, (v) rights under all agreements or documents creating,
defining or evidencing any such Servicing Rights, (vi) possession and use of any and all
Loan Files pertaining to the past, present or prospective servicing of the Mortgage Loans
and (vii) rights, powers and privileges incident to any of the foregoing.

Servicing Tape: A computer readable tape with loan level data and servicing information
in form and content sufficient to allow Buyer to service the Mortgage Loans in
accordance with the applicable Investor Requirements.

Tax Contract Fee: For each Mortgage Loan without a fully paid, life of loan, fully
transferable tax contract, fifty dollars ($50).

Transfer Date: February 1, 2024, or such other date as Seller and Buyer may mutually
agree, and as the applicable Investor may allow, on which date Buyer shall assume the
obligation to service the applicable Mortgage Loans.

Transfer Procedures: The procedures for transferring the Servicing Rights substantially in
the form set forth in Exhibit D.

UPB: As to any Mortgage Loan and any date of determination, the unpaid principal
balance of such Mortgage Loan as of such date.

USDA Loans: Mortgage Loans insured by the United States Department of Agriculture.

VA: The Department of Veterans’ Affairs.

VA Loan: Any Mortgage Loan partially guaranteed by the VA.


                                         ARTICLE II

                                      Purchase and Sale

Section 2.01. Purchase and Sale

        On the terms and subject to the conditions set forth herein, Seller does hereby sell,
transfer, assign, set over and convey to Buyer, effective on the Sale Date, all right, title and
interest of Seller in, to and under the Servicing Rights. Buyer covenants and agrees to
assume, pay, perform and discharge, on and after the Transfer Date, each and every



DOCS_DE:245617.1 70786/001                                                                    8
         Case 23-11240-TMH         Doc 374-2      Filed 10/31/23      Page 17 of 47




obligation to service the Mortgage Loans in accordance with the Servicing Agreement, the
Investor Requirements, the Custodial Documents and Applicable Law.

Section 2.02. {Reserved}

Section 2.03. Purchase Price and Adjustments.

        (a) The Purchase Price shall be adjusted downward for all Mortgage Loans which
the applicable Investor disallows the servicing transfer, before the Sale Date. Upon receipt
of evidence of notice of disallowance from the Investor, at Buyer’s option, the Purchase
Price shall be reduced or Seller shall remit to Buyer an amount determined by multiplying
the UPB of the applicable Mortgage Loan as of the Sale Date, as applicable, by the
Purchase Price Percentage.

        (b) In the event the transaction contemplated herein fails to be consummated for
any reason, including for failure to satisfy the conditions set forth in Sections 5.02 and 5.03
of this Agreement, Seller shall promptly refund any monies related to the Purchase Price
paid by Buyer, and Buyer will return any custodial funds, escrow funds or other monies
sent to Buyer, but rightfully belonging to Seller, related to the transaction.

Section 2.04. Terms of Payment.

       Seller shall deliver to Buyer a preliminary Closing Tape no later than the Sale Date,
showing the UPB of each Mortgage Loan as of mid-month of the month of the Sale Date.
The parties shall calculate the Purchase Price based on the Mortgage Loans listed on such
preliminary Closing Tape; provided that a second final Mortgage Loan Schedule shall be
produced and delivered prior to the Second Payment described below showing information
as of the close of business on the Sale Date and the Purchase Price shall be adjusted
accordingly, if necessary.

        The Purchase Price shall be paid as follows:

        (a) First Payment: After: (i) Written approval from GNMA, FNMA, or FHLMC,
as applicable, has been requested by Seller and provided to Buyer; (ii) the Sale Date tape
information is delivered to Buyer; (iii) execution of this Agreement; and (iv) satisfaction
of the conditions set forth in Section 5.02, an amount equal to 70 percent (70%) of the
Purchase Price shall be paid on the Sale Date.

         (b) Second Payment: An amount equal to 20 percent (20%) of the Purchase Price
for GNMA, FNMA, and FHLMC Mortgage Loans will be paid within three (3) Business
Days after the respective FNMA, FHLMC, and GNMA Transfer Dates and upon receipt
of all respective Loan Files and Buyer’s receipt of all net funds from the respective Escrow
Accounts and Custodial Accounts.

       (c) Holdback Payment: An amount equal to 10 percent (10%) of the Purchase Price
(the “Holdback Amount”) will be released monthly (starting on the first month following



DOCS_DE:245617.1 70786/001                                                                   9
         Case 23-11240-TMH        Doc 374-2      Filed 10/31/23     Page 18 of 47




the Transfer Date), on a pro-rata loan-level basis, as missing Holdback Documents are
received by Buyer and validated by Buyer’s Custodian, it being agreed that Buyer shall
take commercially reasonable steps to assist in expediting the validation of the Holdback
Documents by the Buyer’s Custodian. Buyer shall deliver or cause to be delivered to Seller
the first Exceptions List identifying any missing Holdback Documents as soon as possible,
but in no event later than sixty (60) days, following the Transfer Date. Buyer shall update
the Exceptions List each month thereafter to remove from (but not add to) the Exceptions
List those Mortgage Loans that no longer have any missing Holdback Documents. Buyer
shall release portions of the Holdback Amount on a loan level, pro rata basis within seven
to ten (7-10) days following each month end (beginning in the month in which the first
such Exceptions List is required to be provided) with respect to Mortgage Loans with no
missing Holdback Documents, or as to which all missing Holdback Documents identified
in the initial Exceptions List have been provided or corrected, and Mortgage Loans that
have paid off or otherwise been liquidated. Pro rata releases shall be calculated by
multiplying the initial Holdback Amount by a percentage equal to (1) (x) for the first
month, the number of related Mortgage Loans that do not appear on the initial Exceptions
List as having any missing Holdback Documents, and for each subsequent month the
number of such Mortgage Loans that are removed from the Exceptions List during such
month due to no longer having any missing Holdback Documents, plus (y) the number of
such Mortgage Loans that have paid off or otherwise liquidated during the applicable
month, divided by (2) the number of Mortgage Loans. In no event will the Holdback
Amount be less than $5,000 until all Holdback Documents are received by the Buyer.
Following the expiration of a twelve (12) month period after the Transfer Date, Buyer shall,
following notice to Seller, use the remaining Holdback Amount to cure the outstanding
missing Holdback Documents on reasonable terms at competitive market rates. In the
event that the remaining Holdback Amount is greater than the cost to cure, Buyer shall
release the positive difference to Seller.

Section 2.05. Other Payments and Transfers.

        (a) Provided Seller has delivered all notices required by this Agreement as
necessary to effectuate the transfer of the Servicing Rights and is in material compliance
with the Transfer Procedures, subsequent to the latest occurring Transfer Date and within
three (3) Business Days after (x) Buyer’s receipt and reconciliation (which Buyer will
accomplish with all due haste following receipt of the information necessary to perform
such reconciliation) of all funds in the Custodial Accounts and Escrow Accounts and (y)
Buyer’s receipt of a completed Mortgage Loan Schedule, then Buyer shall reimburse Seller
for recoverable Advances on the following terms. Except as described in the following
sentence, transfer of custodial and escrow funds shall be net of recoverable advances made
in accordance with the applicable Agency and Investor requirements. Default related
corporate advances shall be reimbursable at 100% of such advances that have been made
in accordance with all applicable Agency and Investor requirements and are deemed by
Buyer, in its reasonable discretion, to be recoverable and such amount shall be paid to the
Seller on or before the date that is fifteen (15) days following the Transfer Date. Seller
shall provide Buyer detail satisfactory to support the advances including supporting
documentation for all such advances as may be required by any applicable Agency, CFPB,



DOCS_DE:245617.1 70786/001                                                               10
         Case 23-11240-TMH         Doc 374-2      Filed 10/31/23      Page 19 of 47




or Investor. Buyer will not reimburse Seller for any corporate advances on any current
Mortgage Loans. Seller shall be responsible for remitting, up to the respective Transfer
Date, payment of any interest on escrow amounts for the Loans, to the extent required by
law. Seller is also responsible to remit to the Investor any interest shortfall between the
amount of interest required to be remitted to the Investor and the funds collected from the
Mortgagor(s), including without limitation, compensating interest payable on pay-offs and
curtailments, where applicable. As of the Transfer Date, Buyer shall be responsible for
delinquent principal and interest advances that have been paid out of the custodial account
and be responsible to fund such amounts into Seller’s custodial account, provided the
custodial account does not have sufficient cash to cover principal and interest advances for
those amounts due to the Investor for the period immediately following the Transfer Date.

       (b) Each of Buyer and Seller agrees to remit to the other party any funds that the
other party is due, including but not limited to any Guarantee Fees or scheduled P&I
payments that the Investor may draw against the Seller after the applicable Transfer Date.

Section 2.06. Transfer Date

        The Transfer Date is the date on which Buyer assumes the actual responsibility for
the servicing of the Mortgage Loans in accordance with the applicable Investor
Requirements. The servicing responsibilities with respect to the applicable Mortgage
Loans shall be transferred to Buyer as of the related Transfer Date. Prior to the applicable
Transfer Date, Seller shall continue to service, or shall cause its subservicer to service, the
related Mortgage Loans in accordance with the Investor Requirements and Applicable
Law.

Section 2.07. Correction of Errors

         If, prior to or subsequent to the payment of any amounts due under this Article II
to Seller, the UPB of any Mortgage Loan or any applicable Advance is found to be in error,
or if for any reason the Purchase Price or such other amounts is found to be in error, the
parties shall mutually agree to an appropriate adjustment (and an associated reconciliation
statement or other such documentation with respect to such adjustment), and the party
benefiting from the error shall pay to the other party an amount sufficient to correct and
reconcile the Purchase Price or such other amounts, as mutually agreed by the parties. Such
amounts shall be paid by the applicable party within three (3) Business Days from receipt
of satisfactory written verification of amounts due or mutual agreement between the parties
as to amounts due.


                                        ARTICLE III

                                  Miscellaneous Provision

Section 3.01. The Seller is making no representations or warranties with regard to the
Seller, the Mortgage Loans or the Servicing Rights.



DOCS_DE:245617.1 70786/001                                                                  11
         Case 23-11240-TMH          Doc 374-2      Filed 10/31/23      Page 20 of 47




Section 3.02. In the event that Ginnie Mae requires the Seller to buy one or more
Mortgage Loans out of a Pool from and after the Sale Date, the Buyer shall advance all
funds necessary to effect such buy out and all right, title and interest in and to such
Mortgage Loans (and the related Servicing Rights) shall belong to the Buyer. If needed,
the Seller shall execute all such documents as is reasonable in order to effect such transfer
to the Buyer.

                                        ARTICLE IV

                             Document and Account Transfers

Notwithstanding anything in this Article IV to the contrary, Seller shall use commercially
reasonable efforts to perform its obligations under this Article IV; provided, however, that
if Seller does not, or is unable to, perform as required under this Article IV, Seller shall not
be deemed to be in breach of this Agreement.

Section 4.01. Assignments and Endorsement of Notes

        (a) As of the Transfer Date, each Mortgage Note shall be properly endorsed to
Buyer or the Investor, as required by the applicable Investor Requirements, and each
Mortgage shall be assigned in the manner required or allowed by Applicable Law and the
Investor, subject, if applicable, only to recording of assignments to Buyer or MERS. Seller
shall prepare and record, at Seller’s expense, all assignments required to complete the chain
of title for each Mortgage Loan to Buyer, the Investor or MERS, as required by the
Investor. Seller shall promptly deliver all such assignments to Buyer, at Seller's expense,
when returned from the applicable recorder’s office. Seller will promptly deliver to Buyer,
or Buyer’s custodian, upon Buyer’s reasonable request on an “as needed basis” after the
Transfer Date, a copy or duplicate original of any such assignment by Seller to Buyer or
MERS that was sent for recording but not yet returned from the applicable recorder’s
office.

        (b) If required by the Investor, for any Mortgage Loans with respect to which the
assignments are recorded in the name of Buyer, Seller shall prepare, or cause to be prepared
for Buyer, at Seller’s expense, assignments from Buyer to the Investor. Such assignments
will be delivered within five (5) Business Days after the Transfer Date to Buyer but will
not be recorded.

        (c) All assignments sent for recording and all other Mortgage Documents sent to
Buyer on or after the Transfer Date shall contain Seller's loan number; provided however,
that imaged documents will be sent in a loan folder with the Mortgagor’s name and Seller’s
loan number but individual documents within the folder may not contain loan numbers.
After the Transfer Date, Seller shall use its commercially reasonable efforts to place loan
numbers on checks sent to Buyer.




DOCS_DE:245617.1 70786/001                                                                   12
         Case 23-11240-TMH         Doc 374-2      Filed 10/31/23      Page 21 of 47




Section 4.02     Loan Histories

        Seller shall provide Buyer with all loan histories in its possession or control,
including servicing notes, for the Mortgage Loans in the Loan Files (on Seller’s system
and if reasonably available to Seller, acquired from previous servicers) and a copy of each
ARM change letter, where applicable, in accordance with the Transfer Procedures.

Section 4.03     Transfer of Escrow Accounts and P&I Funds

        (a) Seller shall transfer to Buyer within three (3) Business Days after the Transfer
Date by wire transfer pursuant to Buyer's instruction all related Escrow Account balances
(net as provided in Section 2.05(a)) and interest accrued on such funds for the benefit of
the Mortgagors under the terms of the Mortgage Loans or Applicable Law.

        (b) Within five (5) Business Days after the Transfer Date, Buyer and Seller shall
transfer funds representing settlement of the Custodial Accounts related to the applicable
Mortgage Loans (with reasonable supporting documentation to reconcile funds
transferred).

        (c)    Seller shall remit funds to the Investor following each applicable Transfer
Date for the final Investor reporting period in accordance with the applicable Investor
Requirements; it being understood that although Seller shall have the obligation to make
such remittance to the Investor, the funds necessary to allow Seller to make such remittance
shall be provided to Seller by Buyer.

Section 4.04. Transfer of Records

       (a) No later than the Transfer Date, Seller shall deliver in accordance with the
Transfer Procedures and this Agreement, and at Seller's expense, all Loan Files in its
possession or control in the image format set forth in Exhibit E.

        (b)    All Custodial Documents held by the Custodian shall be delivered to the
office of Buyer's custodian, or as otherwise directed by the Buyer, within five (5) Business
Days after the Transfer Date. Seller shall bear the risk of loss during transit until such
Custodial Documents are received by Buyer’s custodian. Notwithstanding the foregoing,
the parties acknowledge that (i) Deutsche Bank and Bank of New York are the Seller’s
Custodians and also will serve as the Buyer’s Custodians and (ii) all documents held by
Deutsche Bank and Bank of New York shall be transferred pursuant to a “shelf transfer”
and shall remain in the custody of Deutsche Bank and Bank of New York, as Custodians.

         (c) Seller and Buyer acknowledge that, during the sixty (60) day period after
the Transfer Date, all correspondence and funds received by Seller in connection with the
Mortgage Loans, including, but not limited to, tax, insurance, principal, interest, mortgage
guaranty or mortgage insurance payments, insurance loss drafts, tax refunds and all other
types of payments, are to be promptly paid over to Buyer without offset or deduction of
any kind or nature. Buyer shall be entitled to the servicing fees collected after the Sale Date
and other servicing related income collected after the Sale Date, net of all Interim Servicing


DOCS_DE:245617.1 70786/001                                                                  13
         Case 23-11240-TMH          Doc 374-2      Filed 10/31/23      Page 22 of 47




Costs, all fees and income collected prior to the Sale Date, and all Ancillary Income (other
than late fees which shall be paid to Buyer) related to Mortgage Loans earned by Seller.
During such sixty (60) day period, any correspondence and funds relating to the Mortgage
Loans shall be identified by Seller by Seller's and Buyer's loan numbers and shall be
promptly delivered to Buyer at Seller's expense (by overnight courier for the next Business
Day delivery for the first thirty (30) days, and thereafter by first-class mail), at the address
for notice to Buyer contained herein.

Section 4.05. Service Bureau Cooperation

       Seller and Buyer shall cause their respective service bureaus and/or electronic data
processing departments to cooperate with each other in the transfer of the Servicing Rights.

Section 4.06. Investor Approval and Costs

         (a) No later than the Transfer Date, Seller shall have delivered to Buyer, proof of
consent to transfer the servicing of the Mortgage Loans from each applicable Investor,
including GNMA, FNMA, and FHLMC (“Servicing Agreement Consent”). When the
Servicing Agreement Consent is received, it will not contain unusual conditions. “Unusual
conditions” would include, by way of example, but are not limited to: (i) the imposition of
conditions not customarily imposed by the Investor, (ii) the requirement for the payment
of money by Buyer to the Investor, or (iii) the requirement that Buyer suspend or otherwise
alter its normal origination or servicing activity. In the event Servicing Agreement Consent
is not received, or is received but with unusual conditions, Seller will promptly return all
moneys paid, and this Agreement will be terminated.

       (b) Each of Buyer and Seller, as applicable, shall timely deliver to the applicable
Investor all documents required by such Investor to obtain the Investor’s approval in
accordance with the applicable Investor Requirements so that Seller may comply with the
requirement in Section 4.09(a). Buyer shall reasonably cooperate with Seller in the
preparation of all documents and information necessary to support Seller’s request for the
Servicing Agreement Consents. Seller shall be responsible for all Seller’s costs and
expenses arising out of or relating to the transfer of the Servicing Rights to Buyer, including
consent fees.

        (c)      Prior to the Transfer Date, Seller shall use its best efforts to ensure that the
chain of title for each Mortgage Loan is complete to the Investor or Seller, as appropriate.
If subsequent to the Transfer Date, it is determined that the chain of title of any Mortgage
Loan is not complete to the Investor, Seller or Buyer, Seller shall, upon notice from Buyer,
take whatever commercially reasonable action is necessary to clear such title defect at
Seller’s expense.

Section 4.07. Year-End Reporting

        Seller shall be responsible for all government, and regulatory reporting pertaining
to servicing activities relating to the Mortgage Loans prior to the Transfer Date including,



DOCS_DE:245617.1 70786/001                                                                    14
         Case 23-11240-TMH          Doc 374-2      Filed 10/31/23      Page 23 of 47




but not limited to, all year-end statements (for the period serviced by Seller only) to the
Mortgagors and to government agencies (such as Form 1099's, 1098’s, K-1's, and HMDA
reporting). Buyer shall be responsible for all government, and regulatory reporting
pertaining to servicing activities relating to the Mortgage Loans from and after the Transfer
Date including, but not limited to, all year-end statements (for the period serviced by Buyer
only) to the Mortgagors and to government agencies (such as Form 1099's, 1098’s, K-1's,
and HMDA reporting).

Section 4.08. Interest and Escrow

         Seller shall be responsible up to the Transfer Date for accurately posting all interest
accrued up to such Transfer Date on the related Escrow Accounts to each account history,
where applicable. Seller shall be responsible for reporting to the Internal Revenue Service
all interest paid by Seller for the account of Mortgagors with respect to Mortgage Loans
up to the Transfer Date. Buyer will not reimburse Seller for the Seller's interest on Escrows
paid during the Interim Servicing Period, if any.

Section 4.09. Notification to Mortgagors

        No later than fifteen (15) days prior to the Transfer Date, Seller shall mail to all
Mortgagors at Seller's cost and expense, a notice advising them of the occurrence of the
sale contemplated hereby and including directions as to when and where to make payments
on and after the Transfer Date and such other disclosures as may be required by the Investor
or Applicable Law. Such letter shall comply with the applicable Investor Requirements and
Applicable Law and be in form and substance reasonably acceptable to Buyer prior to
Seller mailing it to Mortgagors. Buyer shall be responsible, at Buyer’s cost and expense,
for the preparation and delivery of all “hello” notices to be provided after the Transfer Date.

Section 4.10. Notification to Insurance Carriers

        At least five (5) days prior to the Transfer Date (or at such other time as may be
necessary to comply with the applicable Investor Requirements, the requirements of the
applicable insurance companies and Applicable Law), Seller shall mail a notice to all
applicable hazard insurance companies and PMI companies, with respect to each
applicable Mortgage Loan, of the sale and transfer of the related Servicing Rights as
contemplated hereby and request that such companies revise their records to reflect Buyer
(or its agent if so indicated by Buyer) as the servicer of the Mortgage Loans. If so requested
by Buyer, Seller shall furnish Buyer with reasonable evidence of Seller’s compliance with
this section.

Section 4.11. Payment of Property Insurance and Mortgage Insurance Premiums

       Prior to the Transfer Date, Seller shall pay, or cause to be paid from the applicable
Escrow Account all applicable property and mortgage insurance premiums due (x) prior to
and including the Transfer Date and (y) within thirty (30) days after the Transfer Date
except where a bill or invoice was required for payment and had not been issued or become



DOCS_DE:245617.1 70786/001                                                                   15
         Case 23-11240-TMH         Doc 374-2      Filed 10/31/23      Page 24 of 47




otherwise available prior to the Transfer Date. Promptly following the Transfer Date,
Seller shall provide Buyer with a list, as of the Transfer Date, of all Mortgage Loans which
reflect a property or mortgage insurance premium due but for which Seller has not received
an invoice. During the period of ninety (90) days after the Transfer Date, Seller agrees to
forward to Buyer, on a weekly basis, all insurance bills related to the Mortgage Loans
received by Seller. During the ninety (90) day period after the Transfer Date, such bills
shall be forwarded by overnight mail. Thereafter such bills may be forwarded by regular
mail.

Section 4.12. Payment of Property Taxes

       (a) Each Mortgage Loan shall have a fully paid, transferrable, life-of-loan tax
contract in place. Buyer shall set off against any portion of the Purchase Price then held
by Buyer, the applicable Tax Contract Fee(s) in the event any Mortgage Loan does not
have such tax contract in place.

        (b) Seller shall pay or cause to be paid, from the applicable Escrow Account, all
real estate taxes on the Mortgaged Properties (and all interest, late payments and penalties
in connection therewith) (x) for which either (i) a tax bill has been received, (ii) a tax bill
was issued on or prior to the Transfer Date, or (iii) a tax service contract is in effect and
should have been paid by the tax service, if applicable, and (y) that have due dates or
discount dates, whichever is earlier, prior to or within thirty (30) days after such Transfer
Date except where a bill or invoice was required for payment and had not been issued or
become otherwise available prior to the Transfer Date. In the event all such tax bills are
not paid as set forth above, Seller shall reimburse Buyer, within five (5) days of Seller’s
receipt of an invoice with commercially reasonable supporting documentation for any
penalties and out-of-pocket expenses incurred and related to the actual delay in payment
by Seller.

       (c) During the period of ninety (90) days after the Transfer Date, Seller agrees to
forward to Buyer, on a weekly basis, all real estate tax bills related to the Mortgage Loans
received by Seller by overnight mail. Thereafter such bills may be forwarded by regular
mail.

        (d) Prior to the Transfer Date, Seller shall provide Buyer with the taxing authority
identification number referenced by the respective counties for each Mortgage Loan in
order to allow the automated transfer of such data to Buyer.

       (e) An open items report will be furnished by Seller to Buyer five (5) days prior
to the Transfer Date and again on the Transfer Date to identify the total number of
Mortgage Loans for which tax bills due are within sixty (60) days after the Transfer Date.

Section 4.13. Sale Treatment

       The transfer of the Servicing Rights shall be treated as a sale on the books and
records of Seller, and Seller has determined that, and will treat, the disposition of the
Servicing Rights pursuant to this Agreement for tax and accounting purposes as a sale.


DOCS_DE:245617.1 70786/001                                                                  16
         Case 23-11240-TMH          Doc 374-2      Filed 10/31/23      Page 25 of 47




Seller shall maintain a complete set of books and records with respect to the sale of the
Servicing Rights which shall be clearly marked to reflect the ownership of the Servicing
Rights by the Buyer as of the Sale Date and the transfer of the servicing as of the
Transfer Date and the entitlement of Buyer to the servicing fees and Ancillary
Income (subject to Sellers’ rights to certain Ancillary Income, if applicable) commencing
on the Sale Date.

        In addition, Seller agrees to provide, prior to the Sale Date, the Lock File.

Section 4.14. No Solicitation

        From and after the date of this Agreement, Seller agrees not to solicit, either directly
or indirectly, by mail or otherwise, the borrowers under the Mortgage Loans for the purpose
of seeking to refinance, modify (except for modifications that are performed on behalf of
Seller by its subservicer and that are permitted or required under Applicable Law) or prepay
their Mortgage Loans. It is understood and agreed that promotions undertaken by Seller
or any affiliates of Seller which are directed to the public and general public at large, or
designated segments thereof, including, without limitation, mass mailings based on
commercially acquired mailing lists, newspaper, internet or other social media channels,
radio and television advertisements and unsolicited calls made by customers to Seller or
any affiliate thereof, or notifications to borrowers with maturing balloon loans or seeking
payoff quotes, shall not constitute solicitation under this Section.

Section 4.15. Powers of Attorney

        Upon the request of Buyer, whether before or after the Transfer Date, Seller shall
deliver to Buyer a special irrevocable limited power of attorney for a limited time, coupled
with an interest, in form and substance reasonably satisfactory to Buyer and in such
quantities as Buyer may reasonably require, empowering Buyer, with respect to the
Mortgage Loans, to endorse in the name of Seller, payment or loss draft checks relating to
all Mortgage Loans, and similar items, and to undertake such further servicing obligations,
including endorsing Mortgage Notes and allonges, executing satisfactions, partial releases,
modifications, and assignments. In addition, Seller agrees to deliver to Buyer fifty (50)
executed copies of such limited power of attorney on or before the Transfer Date.

Section 4.16. Escrow Analysis

        If an escrow analysis is required by the applicable Investor Requirements or
Applicable Law to be performed prior to the transfer of the Servicing Rights, Seller shall
have completed an escrow analysis for each Mortgage Loan in accordance with the
applicable Investor Requirements and Applicable Law such that all Servicing Rights
transferred to Buyer as contemplated herein shall be transferred with each Mortgage Loan's
current payment having been adjusted as a result of the aforementioned escrow analysis so
that the amount due for the estimated related Charges can be paid from such accounts.




DOCS_DE:245617.1 70786/001                                                                   17
         Case 23-11240-TMH          Doc 374-2      Filed 10/31/23      Page 26 of 47




Section 4.17.     Certification of Pools

        a)      With respect to each Mortgage Loan delivered to the Investor, it is Seller’s
responsibility to obtain all required Mortgage Loan documents necessary to obtain the
Investor certification and/or recertification, as applicable, for each Mortgage Loan. Seller
is responsible for any out-of-pocket costs that may be incurred by Buyer as a result of
Seller’s failure to obtain Mortgage Loan documents required for the Investor certification
and/or recertification, as applicable, before the deadlines imposed pursuant to applicable
Investor Requirements, unless such failure arises from, relates to or is caused by Buyer or
Buyer’s document custodian. Buyer may offset the amount due against any portion of the
Purchase Price then held by Buyer.

Section 4.18. Transfer Procedures

       Seller shall comply in all material respects with the Transfer Procedures described
in Exhibit D prior to, on and subsequent to, as applicable, the Transfer Date. In the event
of any inconsistency, if identified, between the requirements of the Transfer Procedures
and the requirements of this Agreement, the requirements of this Agreement shall control.

Section 4.19. Costs

        In addition to the costs to be borne by Seller as provided elsewhere in this
Agreement, Seller agrees to pay, as applicable: (i) any Seller - engaged broker fees; (ii)
reasonable fees due to the Investor or Seller’s sub-servicers, if any, relating to such transfer
approval; (iii) all MERS registration and/or transfer fees and the costs of correcting or
completing MERS records; (iv) the cost of Seller’s notification to mortgagors, hazard
insurance companies, taxing authorities, and the like; (v) Tax Contract Fees and/or Flood
Certification Fees for all applicable Mortgage Loans; (vi) all cost associated with preparing
and recording assignments of mortgages, including preparation of assignment to the
applicable Investor, as required by the Investor if MERS is not used; (vii) the cost of loan
record transfer and shipping (including transfer of custodial files to Buyer’s custodian);
and (viii) Seller’s custodial fees through the Transfer Date. Seller also agrees to pay its
own costs for any legal fees and computer conversion costs it incurs.

Section 4.20. Supplementary Information

       From time to time after the Sale Date, Seller shall furnish Buyer such incidental
information, which is reasonably available to Seller and not otherwise reasonably available
to Buyer, supplementary to the information contained in the documents, exhibits and
schedules delivered pursuant hereto as Buyer may reasonably request.

Section 4.21. Documentation Deliveries

         As promptly as possible, and within two (2) Business Days of Seller’s receipt
thereof from Seller’s Custodian, Seller shall deliver to Buyer a copy of a report from
Seller's Custodian with regard to the inventory of documents on-hand with such Custodian.



DOCS_DE:245617.1 70786/001                                                                   18
         Case 23-11240-TMH          Doc 374-2      Filed 10/31/23     Page 27 of 47




Section 4.22. Servicing Duties During the Interim Servicing Period

       (a)      In the event the Transfer Date is subsequent to the Sale Date, Seller shall
interim service the related Mortgage Loans in accordance with the terms of the applicable
Investor Requirements during the Interim Servicing Period, and Buyer shall pay to Seller
the applicable Interim Servicing Costs. Buyer shall continue to make Advances during the
Interim Servicing Period.

       (b) Within five (5) Business Days after the Transfer Date, Seller shall deliver to
Buyer, a trial balance for the Mortgage Loans as of the Transfer Date or a substitute
reasonably acceptable to Buyer.

        (c) Seller shall remit all funds due to the Investor on the Remittance Date
associated with the first Cut-off Date following the Transfer Date for the final Investor
reporting period of the Interim Servicing Period; it being understood that although Seller
shall have the obligation to make such remittance to the Investor, the funds necessary to
allow Seller to make such remittance shall be provided to Seller by Buyer.

        (d) Seller's possession of any portion of the Loan Files related to the Mortgage
Loans after the Sale Date shall be at the will of Buyer for the sole purpose of facilitating
interim servicing of the Mortgage Loans during the Interim Servicing Period. Any such
retention and possession by Seller is in a custodial and subservicing capacity only, with no
ownership rights whatsoever. During the Interim Servicing Period, Seller shall, at Buyer’s
request, deliver to Buyer on a monthly basis not later than the tenth (10th) Business Day
after the Investor’s Cut-Off Date for each month all reports and data furnished to the
Investor on such Cut-Off Date, reflecting Seller’s interim servicing activity since the last
Investor Cut-Off Date. At the time of delivery of such reports and data, Seller shall also
furnish the following records related to the Mortgage Loans interim serviced by Seller for
Buyer:

        (1)      Trial balance in the form of a tape similar to that of the Closing Tape,
                 including principal balance, Escrow balances, due date, P& I, interest rates,
                 and service fees for the applicable month and as of the month end of such
                 month.

        (2)      System generated collection/delinquency reports, all open escrow items and
                 other reports reasonably requested by Buyer. Seller will also provide Buyer
                 with delinquency reports for the Portfolio during the Interim Servicing
                 Period.

        (3)      As reasonably requested by Buyer, copy of all P&I and T&I bank
                 reconcilements (supporting documentation to such reconcilements shall be
                 made available to Buyer at Seller's offices) within thirty (30) days after the
                 applicable Investor Cut-Off Date, or such alternate report(s) that are
                 approved by Buyer, such approval not to be unreasonably withheld.




DOCS_DE:245617.1 70786/001                                                                  19
         Case 23-11240-TMH          Doc 374-2      Filed 10/31/23      Page 28 of 47




        (4)      Reasonable monthly remittance statements supporting the Interim Servicing
                 Income

        (5)      Customary document inventory/tracking status/delivery reports as
                 reasonably requested by Buyer.

        (6)      Other customary documents, records, and reports directly related to the
                 interim servicing of the Mortgage Loans as may be reasonably requested by
                 Buyer.

        (e) The Interim Servicing Period may be terminated by Buyer, with the consent of
the applicable Investor, at an earlier time for cause if one or more of the following events
shall occur and be continuing:

            i.   failure by Seller to remit to the respective Investor and/or Buyer any
                 payment required to be made by Seller during the Interim Servicing Period,
                 which continues un-remedied for a period of two (2) Business Days after
                 the earlier of: (i) discovery by the Seller of such non-payment; or (ii) the
                 date upon which written notice of such failure, requiring the same to be
                 remedied, shall have been given to Seller by Buyer or the Investor; or

           ii.   receipt of written notice by Seller from the respective Investor that Seller is
                 no longer eligible to service mortgage loans for the Investor.

Upon such termination, Seller and Buyer shall promptly prepare, execute and deliver any
and all documents and other instruments, and do or accomplish all other acts or things, in
accordance with the Transfer Instructions as set forth in the Agreement or as otherwise
provided by Buyer, and the Accepted Servicing Practices, and as necessary or appropriate
to effect the termination of servicing by Seller hereunder and the transfer of such servicing
by Seller to Buyer. In the event this Interim Servicing Period is terminated by Buyer as
provided in this section, then Seller shall reimburse Buyer for any out-of-pocket losses,
damages and reasonable out-of-pocket expenses incurred by Buyer as a result of
termination prior to the Transfer Date.

Section 4.23. Flood Insurance

        For each Mortgage Loan that is not covered by a fully paid, life of loan, fully
transferable flood certification from Corelogic at the Sale Date, Seller shall pay Buyer, or
at Buyer’s option, Buyer may set off against any portion of the Purchase Price then held
by Buyer, the applicable Flood Certification Fee.

Section 4.24. Assumptions

        Simultaneously with the delivery of the Mortgage Documents after the Transfer
Date, Seller shall deliver to Buyer a list of Mortgage Loans for which Seller has received
written notice of pending assumptions. Such list shall include the assuming Mortgagor's
name and social security number, if available, Seller's Mortgage Loan number and the


DOCS_DE:245617.1 70786/001                                                                   20
         Case 23-11240-TMH              Doc 374-2     Filed 10/31/23    Page 29 of 47




name and social security numbers of co-borrowers, if any. Additionally, Seller shall
provide to Buyer copies of any assumption instructions Seller has issued.

Section 4.25. Inspection of Damaged Loans.

        On or before the Sale Date, if required by the applicable Investor, Seller, at its
expense, shall provide Buyer with a property inspection report, in form and substance
reasonably acceptable to Buyer, for each and every Damaged Loan. All Damaged Loans
shall be listed on Exhibit H hereto.

                                                ARTICLE V

                                           Conditions to Closing

Section 5.01 Conditions to the Obligations of Buyer and Seller

             (a) The respective obligations of Buyer and Seller to effect the transactions
                 contemplated by this Agreement shall be subject to the satisfaction or
                 waiver by Buyer and Seller at or prior to the Sale Date of the following
                 conditions: (i) Except as set forth in this Section 5.01, no Applicable Law
                 that restrains, enjoins or otherwise prohibits the transactions contemplated
                 by this Agreement shall have been enacted, adopted or promulgated and be
                 in effect, (ii) no order of a court of competent jurisdiction or other
                 governmental authority which materially impairs, restrains, enjoins or
                 otherwise prohibits the transactions contemplated by this Agreement shall
                 have been issued, entered or enforced and be in effect and (iii) no claim,
                 litigation or similar action by a governmental authority seeking such an
                 order shall be pending.

             (b) The Parties acknowledge that Seller has filed a petition for bankruptcy
                 pursuant to chapter 11 of title 11 of the United States Code (the “Bankruptcy
                 Code”), which proceeding is currently pending in the U.S. Bankruptcy
                 Court for the U.S. District Court for the District of Delaware, Case No. 23-
                 11240 (TMH) (the “Bankruptcy Case”). As such, the effectiveness of this
                 Agreement as to the Seller and the consummation of the transactions set
                 forth in this Agreement shall be subject to the following additional
                 requirements:

                      i.     The Bankruptcy Court shall have entered the order approving this
                             Agreement and authorizing the sale of the Servicing Rights to the
                             Buyer in form and substance reasonably satisfactory to each of the
                             Parties (the “Sale Order”) and the Sale Order shall not have been
                             stayed, vacated or revoked.




DOCS_DE:245617.1 70786/001                                                                  21
         Case 23-11240-TMH           Doc 374-2    Filed 10/31/23      Page 30 of 47




Section 5.02. Conditions to Buyer’s Obligation to Purchase

        The obligation of Buyer hereunder to purchase the Servicing Rights on the Sale
Date, shall be subject to the following conditions having been satisfied or waived by Buyer
on or prior to the Sale Date:

        (a)      Seller shall have performed or complied in all material respects with its
                 obligations hereunder that are required to be performed or complied with
                 on or before the Sale Date.

        (b)    Except for the bankruptcy proceeding described in Section 5.01 of this
Agreement, as of the Sale Date, there shall be no lawsuits or legal, administrative or
regulatory proceedings pending or, to Seller’s knowledge, threatened against Seller which
could reasonably be expected to have a material adverse effect on the Servicing
Agreements, the Mortgage Loans, the Servicing Rights or the transactions contemplated
hereby.

        (c)      Buyer shall have received a mid-month Closing Tape from Seller no later
                 than five (5) Business Days prior to the Sale Date.

         (d)     Buyer shall have received the Lock File.

Section 5.03. Conditions to Seller’s Obligation to Sell

        The obligation of Seller hereunder to sell the Servicing Rights on the Sale Date
shall be subject to the following conditions having been satisfied or waived by Seller on or
prior to the Sale Date:

        (a)     Buyer shall have performed or complied in all material respects with its
        obligations required to be performed or complied with on or prior to the Sale Date.


                                         ARTICLE VI

                             Indemnification, Repurchase and Offset

        Section 6.01. As-Is Purchase. Buyer agrees that, there are no representations or
warranties whatsoever, express or implied, made by, or on behalf of, Seller in connection
with this Agreement or as to any matters concerning the Mortgage Loans or the Servicing
Rights, including, without limitation, the implied warranties of merchantability and fitness
for a particular purpose, both of which implied warranties Seller hereby expressly
disclaims. The Servicing Rights will be transferred and sold by Seller and purchased by
Buyer “AS IS AND WITH ALL FAULTS” and without representation by Seller, and no
patent or latent condition or defect affecting the Servicing Rights in any way, whether
known or unknown, discoverable or hereafter discovered, shall affect any of Seller’s or
Buyer’s obligations contained in this Agreement or give rise to any right of damages,


DOCS_DE:245617.1 70786/001                                                               22
         Case 23-11240-TMH         Doc 374-2      Filed 10/31/23     Page 31 of 47




repurchase, liability, claim, rescission or otherwise against Seller, except as otherwise
expressly provided herein. Buyer is an experienced and knowledgeable mortgage
originator and servicer and will be relying solely upon Buyer’s own inspections,
investigations and analysis of the Servicing Rights and Mortgage Loans in purchasing and
acquiring the Servicing Rights, and is not relying in any way upon any representations,
statements, agreements, warranties, studies, reports, descriptions, guidelines or other
information or material furnished by Seller or its representatives, whether oral or written,
express or implied, of any nature whatsoever. Buyer specifically acknowledges and agrees
that Seller is selling and Buyer is purchasing the Servicing Rights on an “AS IS, WITH
ALL FAULTS” basis and that Buyer is not relying on any representations or warranties of
any kind whatsoever, express or implied, from Seller, its agents or brokers as to any matters
concerning the Servicing Rights.


                                       ARTICLE VII

                                 Miscellaneous Provisions

Section 7.01. Cooperation

        Seller and Buyer shall cooperate fully and reasonably with each other and their
respective counsel and other representatives and advisors in connection with the steps
required to be taken as part of their respective obligations under this Agreement, including
without limitation, securing the Servicing Agreement Consent and the approval and
acceptance by Buyer and Seller of any and all documentation relating to the purchase of
the Servicing Rights which may be required to effectuate the transfer of the Servicing
Rights to Buyer.

Section 7.02. Confidentiality

        Each party understands that information which it has been furnished and will be
furnished in connection with this transaction is deemed by the furnishing party to be
confidential and proprietary, and the receiving party agrees that it will maintain the
confidentiality of such information and will not disclose it to others or use it except in
connection with the transaction contemplated by this Agreement, without the written
consent of the party furnishing such information except as such disclosures may be required
to be made to regulators, auditors, attorneys, investors, or others as required by Applicable
Law. Information that is a matter of public record or that is generally known in the industry
concerning a party shall not be deemed confidential or proprietary information for these
purposes. Each party shall ensure that each Person to which it intends to disclose such
information shall, prior to any such disclosure of information, agree to (i) keep confidential
any such information and (ii) use or disclose such information only to the extent necessary
to carry out its express obligations under or with respect to this Agreement. If the
transaction contemplated hereunder is not consummated, each party agrees to promptly
return to the other all confidential materials, and all copies thereof, which have been
furnished to it in connection with the transaction contemplated hereby, and to maintain the



DOCS_DE:245617.1 70786/001                                                                 23
         Case 23-11240-TMH         Doc 374-2      Filed 10/31/23     Page 32 of 47




confidentiality of all confidential and proprietary information furnished to such party under
this Agreement for a period of one (1) year thereafter. This Section 7.02 shall not bind the
parties to the extent necessary for the parties to obtain a Sale Order from the Bankruptcy
Court.

        In addition, both parties will have access to non-public personal information
relating to the Mortgage Loan borrowers, such information being protected by the Graham
Leach Bliley Act of 1999 (“GLB”). Both parties agree to keep GLB information
confidential and to indemnify each other as to breaches of this confidentiality as follows:

Section 7.03. Integration

        This Agreement constitutes a final and complete integration of the agreement of the
parties respecting the subject matter hereof, thereby superseding all previous or
contemporaneous oral and written agreements. There are no contemporaneous oral
agreements relating to the subject matter of this Agreement.

Section 7.04. Severability

       If any portion of this Agreement is declared by a court of competent jurisdiction to
be invalid or unenforceable, such declaration shall not affect the validity of the remaining
provisions.

Section 7.05. Governing Law

        The validity, interpretation and enforcement of this Agreement shall be governed
by the laws of the State of New York (without giving effect to the conflict of law principles
thereof other than Section 5-1401 of the New York General Obligation Law), except to the
extent that the laws of such State are superseded by the Bankruptcy Code.

Section 7.06. Jurisdiction and Waiver

        Notwithstanding anything to the contrary in this Agreement, (i) the Bankruptcy
Court will retain exclusive jurisdiction to enforce the terms of this Agreement and to decide
any claims or disputes which may arise or result from, or be connected with, this
Agreement, any breach or default hereunder, or the Transactions, and (ii) any and all legal
proceedings related to the foregoing will be filed and maintained only in the Bankruptcy
Court, and the Parties hereby consent to and submit to the jurisdiction and venue of the
Bankruptcy Court for such purposes and will receive notices at such locations as indicated
in Section 7.16; provided, however, that if the Bankruptcy Cases have been closed pursuant
to Section 350 of the Bankruptcy Code or if the Bankruptcy Court declines such
jurisdiction, the Parties agree to unconditionally and irrevocably submit to the exclusive
jurisdiction of the State of New York, Suffolk County and any state appellate court
therefrom within the State of New York (or in the event (but only in the event) that such
court does not have subject matter jurisdiction over such action in the United States District
Court for the Eastern District of New York) and any appellate court from any thereof, for



DOCS_DE:245617.1 70786/001                                                                 24
         Case 23-11240-TMH          Doc 374-2      Filed 10/31/23      Page 33 of 47




the resolution of any such claim or dispute. The Parties hereby irrevocably waive, to the
fullest extent permitted by applicable legal requirements, any objection which they may
now or hereafter have to the laying of venue of any such dispute brought in such court or
any defense of inconvenient forum for the maintenance of such dispute. Each of the Parties
agrees that a judgment in any such dispute may be enforced in other jurisdictions by suit
on the judgment or in any other manner provided by applicable legal requirements.

EACH PARTY HERETO ACKNOWLEDGES AND AGREES THAT ANY
CONTROVERSY WHICH MAY ARISE UNDER THIS AGREEMENT IS LIKELY TO
INVOLVE COMPLICATED AND DIFFICULT ISSUES, AND THEREFORE IT
HEREBY IRREVOCABLY AND UNCONDITIONALLY WAIVES ANY RIGHT IT
MAY HAVE TO A TRIAL BY JURY IN RESPECT OF ANY LITIGATION DIRECTLY
OR INDIRECTLY ARISING OUT OF OR RELATING TO THIS AGREEMENT AND
ANY OF THE AGREEMENTS DELIVERED IN CONNECTION HEREWITH OR THE
TRANSACTIONS.

Section 7.07. Arbitration

        (a) Upon the request of both parties, any disputes hereunder shall be resolved by
binding arbitration. Such election may be made before or after the institution of any legal
proceeding, but prior to the rendering of any judgment in such proceeding. The arbitration
shall be conducted in accordance with the United States Arbitration Act (Title 9, U. S.
Code), notwithstanding any choice of law provision in this Agreement, and under the
Commercial Rules of the American Arbitration Association before a panel of three (3)
arbitrators. Seller and Buyer shall each appoint one (1) arbitrator, and such two (2)
arbitrators shall appoint a third neutral arbitrator. The arbitrator(s) shall give effect to
statutes of limitation in determining any claim. Any controversy concerning whether an
issue is subject to arbitration shall be determined by the arbitrators. The award rendered by
the arbitrators shall set forth findings of the facts and conclusions of law and shall be final,
and the judgment may be entered in any court having jurisdiction thereof. The institution
and maintenance of an action for judicial relief or pursuit of a provisional or ancillary
remedy shall not constitute a waiver of the right of any party, including the plaintiff, to
submit the controversy or claim to arbitration if all parties consent to such action for
judicial relief.

      (b) In any arbitration proceeding, the arbitrators are authorized to apportion costs
and expenses, including investigation, legal and other expenses, which will include, if
applicable, a reasonable estimate of allocated costs and expenses to be awarded only after
the conclusion of the arbitration and will not be advanced during the course of arbitration.

Section 7.08. Limitation on Damages

        In no event shall either party, or their respective officers, directors or employees,
be liable for consequential, indirect, punitive or exemplary damages, whether arising out
of contract, tort or otherwise.




DOCS_DE:245617.1 70786/001                                                                   25
         Case 23-11240-TMH         Doc 374-2      Filed 10/31/23     Page 34 of 47




Section 7.09. Attorney Fees, Costs, etc.

        If any action at law or in equity, including an action for declaratory relief, or
arbitration, is brought to enforce or interpret the provisions of this Agreement, the
prevailing party shall be entitled to recover reasonable attorney's fees from the other party.
Such fees may be set by the court in the trial of such action or may be enforced in a separate
action brought for that purpose or by an arbitrator. Such fees shall be in addition to any
other relief that may be awarded.

Section 7.10. Captions / Joint Drafting

        Paragraph captions in this Agreement are for ease or reference only and shall be
given no substantive or restrictive meaning or significance whatsoever. The Parties have
participated jointly in the negotiation and drafting of this Agreement. In the event an
ambiguity or question of intent or interpretation arises, this Agreement shall be construed
as if drafted jointly by the Parties, and no presumption or burden of proof shall arise
favoring or disfavoring any Party by virtue of the authorship of any of the provisions of
this Agreement.

Section 7.11. Third Party Beneficiaries

      This Agreement is intended for the benefit of the parties hereto only and the Buyer
Indemnitees and Seller Indemnitees. There shall be no third-party beneficiaries hereof.

Section 7.12. Amendment and Modification

       This Agreement may be amended only by an agreement in writing signed by both
parties. No course of dealing between the parties shall constitute a modification to the terms
hereof. The failure to exercise a remedy or right shall not constitute the waiver thereof.
Any waiver of strict compliance with the provisions hereof shall be in writing signed by
the party granting such waiver, and the waiver of a provision on one or more occasions
shall not constitute the future waiver of the provision except to the extent set forth in the
written waiver.

Section 7.13. Assignment of Agreement

        This Agreement shall inure to the benefit of and be binding upon the parties hereto
and their successors and permitted assigns. This Agreement and all rights, privileges, duties
and obligations hereunder may not be assigned or delegated by either party without the
prior written consent of the other party. Notwithstanding the foregoing, nothing, in this
Section 7.13 or in this Agreement otherwise shall prevent or limit Buyer from transferring,
selling or assigning after the Transfer Date to any Person the Servicing Rights purchased
hereunder or require Buyer to obtain the consent of Seller or any other Person (other than
the applicable Investor) for such transfer, sale or assignment after the Transfer Date.




DOCS_DE:245617.1 70786/001                                                                 26
         Case 23-11240-TMH        Doc 374-2     Filed 10/31/23     Page 35 of 47




Section 7.14. Counterparts

       This Agreement may be executed in multiple counterparts, each of which shall be
an original. For the purpose of executing this Agreement, facsimile or pdf signatures shall
be binding. Regardless of the number of counterparts, they shall constitute only one
Agreement.

Section 7.15. Exhibits to the Agreement

       The exhibits to this Agreement are hereby incorporated and made a part hereof
and are an integral part of this Agreement.

Section 7.16. Notices

       Any notices to be given by either party to this Agreement shall be given in writing
and shall be made by email transmission, or via the United States Postal Service, certified
or registered mail, return receipt requested, postage prepaid, or sent by any nationally
recognized air courier providing proof of delivery and addressed as follows:


BUYER: The Money Source Inc.
       3138 East Elwood Street
       Phoenix, AZ 85034
       Attention: Frank Giglio, Esq. – Managing Counsel

SELLER: T. Scott Avila
        575 W. Chandler Blvd.
        Ste 225 Unit 236
        Chandler, AZ85225

             With a copy to:
             Pachulski Stang Ziehl & Jones
             919 North Market Street
             17th Floor
             Wilmington, DE 19801
             c/o Laura Davis Jones

Any notice, if mailed and properly addressed with postage prepaid and sent by registered
or certified mail, shall be deemed given when received or when delivery is refused and any
notice, if given to a reputable overnight courier and properly addressed, shall be deemed
given two (2) Business Days after the date on which it was sent, unless it is actually
received sooner by the named addressee.




DOCS_DE:245617.1 70786/001                                                              27
         Case 23-11240-TMH          Doc 374-2     Filed 10/31/23    Page 36 of 47




                                         Article VIII

                                  Bankruptcy Court Matters

8.01 Buyer Acknowledgement

       Buyer hereby acknowledges and agrees that Seller will be selling the Servicing
Rights to the Buyer pursuant to a process in the Bankruptcy Case and effectiveness of
this Agreement as to Seller the sale of the Servicing Rights is subject to approval by the
Bankruptcy Court.

8.02.   Submission for Bankruptcy Court Approval.

        As promptly as reasonably practicable after the execution of this Agreement, the
Seller will seek entry of the Sale Order by the Bankruptcy Court, including the approval
of this Agreement and the sale of the Servicing Rights to Buyer on the terms and
conditions hereof.

                        {Signature Lines Appear on the Following Page}




DOCS_DE:245617.1 70786/001                                                                   28
       Case 23-11240-TMH          Doc 374-2     Filed 10/31/23     Page 37 of 47




IN WITNESS WHEREOF, each of the undersigned parties to this Agreement has caused
this Agreement to be duly executed by its duly authorized officers as of the date first
above written.


BUYER: The Money Source Inc.



      ­
By:�--/�
NamelJ.ra;ros Papastavrou
Title: Chairman of The Money Source Inc.


SELLER:



By:
Name: Scott Avila
Title: Chief
Restructuring Officer




                                                                                     29
         Case 23-11240-TMH        Doc 374-2    Filed 10/31/23   Page 38 of 47




                                      EXHIBIT A

                             BID INFORMATION AND LOI


                             One hundred basis points (1.00%)




DOCS_DE:245617.1 70786/001                                                      30
         Case 23-11240-TMH       Doc 374-2     Filed 10/31/23   Page 39 of 47




                                     EXHIBIT B

                             LIST OF MORTGAGE LOANS

                                [provided electronically]




DOCS_DE:245617.1 70786/001                                                      31
         Case 23-11240-TMH            Doc 374-2     Filed 10/31/23      Page 40 of 47




                                           EXHIBIT C

                                MORTGAGE DOCUMENTS

     Executed Original Note, Rider and Note Addendum with/ all intervening endorsements

     Original Recorded Security Instrument, Deed of Trust (Recorded)

     All Assignments

     Mortgage Insurance Certificate_LGC, MIC or LNG (as applicable)

     Original Final Title Policy

     1003/92900/1802 - Loan Application (Final)

     1008 (Transmittal Summary)

     Appraisal

     Sales Contract, if applicable

     Closing Instructions

     Credit Report

     Flood Certification (Life of Loan)

     Good Faith Estimate (Initial) or Loan Estimate (as applicable)

     HUD-1 Statement (Final) or Closing Disclosure (as applicable)

     Hazard Insurance Policy

     Mortgage Insurance Disclosure

     Payment Letter to Borrower

     Truth in Lending (Final) or Closing Disclosure (as applicable)

     AUS Findings as dictated by program

     Underwriting Compliance Checklist

     Verification of Deposit

     Verification of Employment

     Goodbye Letter

     Last Escrow/Impound Analysis showing breakdown of Escrow Payments




DOCS_DE:245617.1 70786/001                                                                 32
         Case 23-11240-TMH           Doc 374-2        Filed 10/31/23       Page 41 of 47



     Initial Escrow Account Disclosure Statement

     All Collections and Customer Service Notes created by Servicing Personnel - 2years

     All open and closed QWRs

     All Litigation Documents if applicable

     Copies of any information or documents provide to and from a borrower

     Payment History - Life of Loan

     Mailed notice to insurance carrier of mortgagee clause change (as applicable)

     Mailed PMI transfer notice – if applicable

     Notice to life of loan flood determination company of change of servicer (as applicable)

     Power of Attorney if applicable

     Net Tangible benefit if applicable

     3555-18 Conditional Commitment (as applicable)

     Executed original modification, if applicable

     Evidence of ATR/QM status, where applicable

     TX 50(a)6 Lender Compliance Certificate (as applicable)

     TX 50(a)6 Owner Compliance Affidavit (as applicable)

     TX 50(a)6 Owner Acknowledgement Affidavit (as applicable)

     All Renovation related documents ( eg., permits, inspections., draw requests, etc.,) as
      applicable

     Evidence of ATR/QM status, where applicable

     Wisconsin Tax Option Letter, as applicable




DOCS_DE:245617.1 70786/001                                                                       33
         Case 23-11240-TMH     Doc 374-2     Filed 10/31/23   Page 42 of 47




                                   EXHIBIT D


                             TRANSFER PROCEDURES

                                [supplied separately]




DOCS_DE:245617.1 70786/001                                                    34
         Case 23-11240-TMH         Doc 374-2     Filed 10/31/23    Page 43 of 47




                                           EXHIBIT E

                         IMAGE FILE TRANSFER REQUIREMENTS

                             See Transfer Procedures (Exhibit D)




DOCS_DE:245617.1 70786/001                                                         35
         Case 23-11240-TMH            Doc 374-2    Filed 10/31/23    Page 44 of 47




                                            EXHIBIT F

                                   HOLDBACK DOCUMENTS


                             The Custodial Documents (as defined herein)




DOCS_DE:245617.1 70786/001                                                           36
         Case 23-11240-TMH      Doc 374-2   Filed 10/31/23   Page 45 of 47




                                    EXHIBIT G

                             MORTGAGE LOAN SCHEDULE

                                 [Provided separately]




DOCS_DE:245617.1 70786/001                                                   37
         Case 23-11240-TMH   Doc 374-2    Filed 10/31/23   Page 46 of 47




                                  EXHIBIT H

                              DAMAGED LOANS

                              Provided electronically




DOCS_DE:245617.1 70786/001                                                 38
         Case 23-11240-TMH                Doc 374-2         Filed 10/31/23          Page 47 of 47




                                               Exhibit I
                                    Delinquent Loans as of Sale Date




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DOCS_DE:245617.1 70786/001                                                                          39
